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                    UNITED STATES BANKRUPTCY COURT FOR THE
                          SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION                                                        ENTERED
                                                                                                       07/07/2021
IN RE:                                               §            BANKRUPTCY CASE NO.
                                                     §
KORNBLUTH TEXAS, LLC                                 §            21-32261
                                                     §
DEBTOR                                               §            Chapter 11

                             ORDER AUTHORIZING INTERIM USE
                                 OF CASH COLLATERAL

        On motion of the Debtor, KORNBLUTH TEXAS, LLC, for interim use of cash collateral,
and the Court finding that there is good cause for granting same in part, it is accordingly
                ORDERED that the Debtor, KORNBLUTH TEXAS, LLC, may use cash collateral
on an interim basis pending final hearing hereof, to pay payroll, utilities, supplies, franchise fees, State
and local tax, internet and cable, maintenance supplies, food and beverage supplies, insurance, 401k
fees, and uniforms in accordance with the attached budget.
        ORDERED that KORNBLUTH TEXAS, LLC, is authorized to use $77,000.00 of its cash
collateral pending final hearing hereof as set out in Exhibit “A” hereto.
        The United States and Wilmington Trust, shall receive replacement liens encumbering
property of the estate acquired after the petition date in the same extent, validity, and priority to
which their liens attached before the petition.
        Notwithstanding anything hereto, all post-petition fees owed by Debtor to Holiday
Hospitality Franchising, LLC (“HHF”) pursuant to that certain Holiday Inn® Hotel Change of
Ownership License Agreement dated October 20, 2016 (as may have been amended, the “License
Agreement”) between HHF, as licensor, and Debtor, as licensee, shall be paid in full on a monthly
basis and in the ordinary course, and shall not be limited by the Budget.
        A final cash collateral hearing shall be held on July 21, 2021.


        SIGNED the ___________ day of ____________________, 2021.
          August
          July      02, 2019
               07, 2021
                                         ________________________________________________
                                         CHRISTOPHER LOPEZ
                                         UNITED STATES BANKRUPTCY JUDGE
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                            EXHIBIT "A"
                       Kornbluth Texas, LLP
                             Budget

Income                          Total 1-14 Days      30 days
Gross Monthly Income                   122,000.00       279,000.00
                        Total          122,000.00       279,000.00

Expenses                        Total 1-14 Days      30 days
Employee Payroll                        24,000.00        49,000.00
State and Local Tax                     13,000.00        25,000.00
Utilities                                 7,500.00       15,000.00
Supplies                                  7,500.00       15,000.00
Maintenance Supplies                      5,000.00       10,000.00
Franchise                                 8,000.00       15,000.00
Internet & Cable                          2,500.00        5,000.00
Insurance                                   600.00          600.00
Food & Beverage Supplies                  4,500.00        9,000.00
Uniforms                                    125.00          250.00
Unexpected Expense                        2,500.00        5,000.00
401K                                      1,000.00        2,000.00
               Total Expenses           76,225.00       150,850.00
                   Net Income           45,775.00       128,150.00
